                          Case 1:11-cr-00407-LJO Document 47 Filed 05/24/12 Page 1 of 4
AO 245B-CAED (Rev. 09/2011) Sheet 1 - Judgment in a Criminal Case



                                          United States District Court
                                                   Eastern District of California

           UNITED STATES OF AMERICA                                                 AMENDED JUDGMENT IN A CRIMINAL
                       v.                                                           CASE
          MARIA DEL PILAR PEREZ PEREZ                                               (For Offenses Committed On or After November 1, 1987)
                                                                                    Case Number: 1:11-CR-00407-003


                                                                                    Erik K. Fogderude
                                                                                    Defendant’s Attorney

Reason for Amendment:
[ ] Correction of Sentence on Remand (Fed R. Crim. P. 35(a)) [ ] Modification of Supervision Conditions (18 U.S.C. §3563(c) or 3583(e))

[ ] Reduction of Sentence for Changed Circumstances
    (Fed R. Crim. P. 35(b))    [ ] Modification of Imposed Term of Imprisonment for Extraordinary and
      Compelling Reasons (18 U.S.C.§3582(c)(1))
[ ] Correction of Sentence by Sentencing Court (Fed. R. Crim P. 35(c))    [ ] Modification of Imposed Term of Imprisonment for Retroactive
      Amendment(s) to the Sentencing Guidelines (18 U.S.C.§3582(c)(2))
[U] Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)     [ ] Direct Motion to District Court Pursuant to [ ] 28 U.S.C. §2255
   [ ] 18 U.S.C. §3559(c)(7),     [ ] Modification of Restitution Order
 THE DEFENDANT:
[U]         pleaded guilty to count: 2 of the Indictm ent .
[]          pleaded nolo contendere to counts(s)         which was accepted by the court.
[]          was found guilty on count(s)       after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):
                                                                                                          Date Offense                     Count
Title & Section                            Nature of Offense                                              Concluded                        Number(s)
18 USC 2318 and 2                Trafficking in Counterfeit Labels and                10/2011 - 10/27/2011     2
                                 Counterfeit Docum entation and Packaging,
                                 Aiding and Abetting
        The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

[]          The defendant has been found not guilty on counts(s)               and is discharged as to such count(s).

[U]         All remaining counts of the Indictment are dismissed on the motion of the United States.

[]          Indictment is to be dismissed by District Court on motion of the United States.

[]          Appeal rights given.                                 [U]      Appeal rights waived.

          IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.

                                                                                                           5/21/2012
                                                                                                Date of Im position of Judgm ent

                                                                                                     /s/ Lawrence J. O’Neill
                                                                                                   Signature of Judicial Officer

                                                                                 LAW RENCE J. O’NEILL, United States District Judge
                                                                                         Nam e & Title of Judicial Officer
                                                                                                   5/24/2012
                                                                                                      Date
                     Case 1:11-cr-00407-LJO Document 47 Filed 05/24/12 Page 2 of 4
AO 245B-CAED (Rev. 09/2011) Sheet 2 - Imprisonment
CASE NUMBER:              1:11-CR-00407-003                                                             Judgment - Page 2 of 4
DEFENDANT:                MARIA DEL PILAR PEREZ PEREZ




                                                        IMPRISONMENT
         The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a
total term of (195 days) Tim e Served .




[]      The court m akes the following recom m endations to the Bureau of Prisons:




[U]     The defendant is rem anded to the custody of the United States Marshal.


[]      The defendant shall surrender to the United States Marshal for this district.
        [ ] at     on     .
        [ ] as notified by the United States Marshal.


[]      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        [ ] before on        .
        [ ] as notified by the United States Marshal.
        [ ] as notified by the Probation or Pretrial Services Officer.
        If no such institution has been designated, to the United States Marshal for this district.


                                                               RETURN
I have executed this judgment as follows:




        Defendant delivered on                                      to

at                                          , with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL



                                                                                        By
                                                                                                Deputy U.S. Marshal
                       Case 1:11-cr-00407-LJO Document 47 Filed 05/24/12 Page 3 of 4
AO 245B-CAED (Rev. 09/2011) Sheet 5 - Criminal Monetary Penalties
CASE NUMBER:                 1:11-CR-00407-003                                                                                Judgment - Page 3 of 4
DEFENDANT:                   MARIA DEL PILAR PEREZ PEREZ


                                          CRIMINAL MONETARY PENALTIES
      The defendant m ust pay the total crim inal m onetary penalties under the Schedule of Paym ents on Sheet 6.

                                                    Assessm ent                            Fine                      Restitution
       Totals:                                       $ 100.00                               $                       $ 84,133.85


[]     The determ ination of restitution is deferred until              . An Amended Judgment in a Criminal Case (AO 245C) will be
       entered after such determ ination.

[]     The defendant m ust m ake restitution (including com m unity restitution) to the following payees in the am ount listed
       below.

       If the defendant m akes a partial paym ent, each payee shall receive an approxim ately proportioned paym ent, unless
       specified otherwise in the priority order or percentage paym ent colum n below. However, pursuant to 18 U.S.C. §
       3664(i), all nonfederal victim s m ust be paid before the United States is paid.




Name of Payee                                       Total Loss*                     Restitution Ordered      Priority or Percentage
Motion Picture Assoc. of Am erica
Attn: Restitution
15301 Ventura Blvd., Bldg E
Sherm an Oaks, CA 91403                                                                  57,073.25

Recording Industry Assoc. of Am erica
575 Anton Blvd., Suite 610
Costa Mesa, CA 92626                                                                     27,060.60

       TOTALS:                                           $                             $84,133.85




[]     Restitution am ount ordered pursuant to plea agreem ent $

[]     The defendant m ust pay interest on restitution and a fine of m ore than $2,500, unless the restitution or fine is paid in full
       before the fifteenth day after the date of the judgm ent, pursuant to 18 U.S.C. § 3612(f). All of the paym ent options on
       Sheet 6 m ay be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[ ]        The court determ ined that the defendant does not have the ability to pay interest and it is ordered that:

       [U] The interest requirem ent is waived for the                   [ ] fine          [U] restitution

       [ ] The interest requirem ent for the                 [ ] fine    [ ] restitution is m odified as follows:




[]     If incarcerated, paym ent of the fine is due during im prisonm ent at the rate of not less than $25 per quarter
       and paym ent shall be through the Bureau of Prisons Inm ate Financial Responsibility Program .

[U] If incarcerated, paym ent of restitution is due during im prisonm ent at the rate of not less than $25 per quarter
    and paym ent shall be through the Bureau of Prisons Inm ate Financial Responsibility Program .

  ** Findings for the total am ount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses
com m itted on or after Septem ber 13, 1994, but before April 23, 1996.
                       Case 1:11-cr-00407-LJO Document 47 Filed 05/24/12 Page 4 of 4
AO 245B-CAED (Rev. 3/04) Sheet 6 - Schedule of Payments
CASE NUMBER:                 1:11-CR-00407-003                                                                         Judgment - Page 4 of 4
DEFENDANT:                   MARIA DEL PILAR PEREZ PEREZ

                                                 SCHEDULE OF PAYMENTS


     Paym ent of the total fine and other crim inal m onetary penalties shall be due as follows:

A    [U]           Lum p sum paym ent of $          84,233.85 due im m ediately, balance due

           []      not later than  , or
           []      in accordance with            [ ] C,   [ ] D,   [ ] E, or            [ ] F below; or

B    [ ] Paym ent to begin im m ediately (m ay be com bined with               [ ] C,   [ ] D, or [ ] F below); or

C    [ ] Paym ent in equal     (e.g., weekly, m onthly, quarterly) installm ents of $  over a period of              (e.g., m onths or
         years), to com m ence     (e.g., 30 or 60 days) after the date of this judgm ent; or

D    [ ] Paym ent in equal     (e.g., weekly, m onthly, quarterly) installm ents of $ over a period of     (e.g., m onths or
         years), to com m ence     (e.g., 30 or 60 days) after release from im prisonm ent to a term of supervision; or

E    [ ] Paym ent during the term of supervised release will com m ence within   (e.g., 30 or 60 days) after release from
         im prisonm ent. The court will set the paym ent plan based on an assessm ent of the defendant’s ability to pay at that
         tim e; or

F    [ ] Special instructions regarding the paym ent of crim inal m onetary penalties:




Unless the court has expressly ordered otherwise, if this judgm ent im poses im prisonm ent, paym ent of crim inal m onetary
penalties is due during im prisonm ent. All crim inal m onetary penalties, except those paym ents m ade through the Federal
Bureau of Prisons' Inm ate Financial Responsibility Program , are m ade to the clerk of the court.

The defendant shall receive credit for all paym ents previously m ade toward any crim inal m onetary penalties im posed.

[]   Joint and Several

Defendant and Co-Defendant Nam es and Case Num bers (including defendant num ber), Total Am ount, Joint and Several
Am ount, and corresponding payee, if appropriate:




[]   The defendant shall pay the cost of prosecution.

[]   The defendant shall pay the following court cost(s):

[U] The defendant shall forfeit the defendant’s interest in the following property to the United States:

           The Preliminary Forfeiture filed on 3/12/2012 is now made final.
